            Case 3:23-cv-06522-MMC           Document 170         Filed 04/30/25      Page 1 of 1



 1                                UNITED STATES DISTRICT COURT

 2                               NORTHERN DISTRICT OF CALIFORNIA

 3                                    SAN FRANCISCO DIVISION

 4
                                      )
 5   UMG RECORDINGS, INC., CAPITOL    ) Case No.: 3:23-cv-06522-MMC
     RECORDS, LLC, CONCORD BICYCLE    )
 6   ASSETS, LLC, CMGI RECORDED MUSIC )
     ASSETS LLC, SONY MUSIC           ) [Proposed] Order to Extend Stay of
 7                                    ) Proceedings
     ENTERTAINMENT, and ARISTA MUSIC )
 8                                    )
                 Plaintiff(s),        )
 9                                    )
          vs.                         )
10                                    )
     INTERNET ARCHIVE, BREWSTER       )
11   KAHLE, KAHLE/AUSTIN FOUNDATION, )
     GEORGE BLOOD, and GEORGE BLOOD, )
12   L.P.                             )
                                      )
13                                    )
                 Defendant(s).        )
14

15           The Court, having considered the Parties’ Stipulation to Extend Stay of Proceedings, and

16   good cause having been shown, hereby orders as follows:

17       1. All proceedings and deadlines in this case shall be stayed through and including June 4,

18           2025 to allow the Parties to continue their settlement discussions.

19       2. If the settlement discussions result in a resolution, the Parties will promptly file an

20           appropriate dismissal with the Court.

21       3. If the settlement discussions are not successful, the Parties shall meet and confer to propose

22           a new schedule for the case and submit a joint proposed scheduling order to the Court

23           within ten (10) days following the expiration of the stay.

24   IT IS SO ORDERED.

25

26            April 30, 2025
      Dated: __________________
                                                                     MAXINE
                                                                     M XINE M. CHESNEY
                                                                     MA
27                                                                  United
                                                                    U i d States
                                                                           S     District
                                                                                 Di i Judge
                                                                                          J d
28
      Stip. and Prop. Order to                                              Case No.: 3:23-cv-06522-MMC
      Ext. Stay of Proceedings
